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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 9:14-CV-80781-ROSENBERG/HOPKINS

  EDWARD TOBINICK, M.D., an individual,
  et al.,

         Plaintiffs,

  v.

  STEVEN NOVELLA, M.D., an individual,

         Defendant.
                                            /

       ORDER ADOPTING MAGISTRATE’S REPORT AND RECOMMENDATION

         This matter is before the Court upon Defendants Dr. Steven Novella and the Society for

  Science-Based Medicine, Inc. (“the Society”)’s motion for reimbursement of their appellate fees

  and costs, DE 366 & DE 367, which was previously referred to the Honorable James M. Hopkins

  for a Report and Recommendation, DE 369. On November 29, 2017, Judge Hopkins issued a

  Report and Recommendation recommending that Defendant Novella’s Motion for Appellate

  Attorneys’ Fees and Costs be granted in part and denied apart and that Defendant Novella be

  awarded $106,212.50 ($103,587.50 in attorneys’ fees and $2,625.00 in paralegal fees); and that

  Defendant the Society for Science-Based Medicine Inc.’s Motion for Appellate Attorneys’ Fees

  be granted and that Defendant the Society be awarded $27,220.00 in attorneys’ fees. DE 372.

  Plaintiffs filed objections. DE 373. The Court has conducted a de novo review of Magistrate

  Judge Hopkins’s Report and Recommendation, the objections, and the record and is otherwise

  fully advised in the premises.

         Upon review, the Court finds Judge Hopkins’s recommendation to be well reasoned and
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  correct. The Court agrees with the analysis in Judge Hopkins’s Report and Recommendation

  and concludes that the fees and costs should be awarded as recommended for the reasons set

  forth therein.

          For the foregoing reasons, it is ORDERED AND ADJUDGED as follows:

              1. Magistrate Judge Hopkins’s Report and Recommendation [DE 372] is hereby
                 ADOPTED;

              2. Defendant Novella’s Motion for Appellate Attorneys’ Fees and Costs [DE 367] is
                 GRANTED IN PART AND DENIED IN PART as follows:

                        Attorneys’ Fees      $103,587.50
                        Paralegal Fees       $2,625.00

                        TOTAL                       $106,212.50;

              3. Defendant the Society for Science-Based Medicine Inc.’s Motion for Appellate
                 Attorneys’ Fees [DE 367] as follows:

                        Attorneys’ Fees      $27,220.00.


          DONE and ORDERED in Chambers, Fort Pierce, Florida, this 15th day of December,

  2017.




                                                    _______________________________
                                                    ROBIN L. ROSENBERG
                                                    UNITED STATES DISTRICT JUDGE
  Copies furnished to Counsel of Record
